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 2                          UNITED STATES DISTRICT COURT
 3                               DISTRICT OF NEVADA
 4

 5     UNITED STATES OF AMERICA,

 6              Plaintiff
                                                                2:06-CR-085-JCM-GWF
 7       vs.
                                                            ORDER DENYING DEFENDANT
 8     3. DUMITRU NICULESCU,                               NICULESCU’S MOTION IN LIMINE
                                                               WITHOUT PREJUDICE
 9               Defendant

10             THIS MATTER comes before the Court on defendant DUMITRU NICULESCU’s

11 Motion in Limine Regarding Evidence of Prior Bad Acts (“Motion in Limine”) [Docket No. 289].

12             Having reviewed the defendant’s motions and supporting memoranda, the government’s

13 response, and having heard the arguments of counsel at the hearing of July 10, 2007, the Court

14 tentatively finds, based upon the government’s proffer, that the evidence that the defendant moves

15 to exclude is inextricably intertwined with charged offenses and part of the background and

16 development of the conspiracy described in the indictment. This evidence would therefore fall
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17 outside of the ambit of Fed.R.Evid. 404(b). See e.g., United States v. Curtin, 443 F.3d 1084 (9
                                                                  th
18 Cir. 2006); United States v. Montgomery, 384 F.3d 1050, 1061 (9 Cir. 2004); United States v.
                                th                                                          th
19 Lillard, 354 F.3d 850, 854 (9 Cir. 2003); United States v. Jones, 982 F.2d 380, 382-83 (9
                                                                            th
20 Cir.1992); United States v. Vizcarra-Martinez, 66 F.3d 1006, 1012-1013 (9 Cir.1995). Based

21 upon this preliminary finding, it is at this time unnecessary to examine the government’s alternative

22 argument that the proffered evidence would also be under Rule 404(b).

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 1 The Court therefore ORDERS:

 2           Defendant DUMITRU NICULESCU’s Motion in Limine Regarding Evidence of Prior

 3           Bad Acts (“Motion in Limine”) [Docket No. 289] is denied without prejudice and with

 4           the proviso that defendant may renew his objections based upon the evidence presented

 5           at trial.

 6
                         1st dayday
 7 IT IS SO ORDERED this _____   of August, 2007.
                                    of July 2007.

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 9                               ____________________________________
                                 JAMES C. MAHAN
10                               United States District Judge

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